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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION




 FAIR FIGHT ACTION, INC., et al.,

       Plaintiffs,

       v.

 BRAD RAFFENSPERGER, et al.,
                                                    Civ. Act. No. 18-cv-5391 (SCJ)
    Defendants.



                 PLAINTIFFS’ MOTION TO EXCLUDE
             THE EXPERT TESTIMONY OF SEAN P. TRENDE


      In accordance with Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589

(1993); Federal Rule of Evidence 702; Local Rule of the Northern District of

Georgia 26.2C; and this Court’s Second Amended Scheduling Order (ECF No.

228), Plaintiffs hereby move the Court to exclude the opinions of defense expert

Sean P. Trende. As grounds for this motion, and as more fully set out in the

accompanying memorandum of law, Mr. Trende’s opinions are due to be excluded

because he is not qualified and, even if the Court were to determine he had
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adequate qualifications, he has failed to apply a reliable methodology in reaching

his conclusions, and those conclusions will not be helpful to the Court as trier of

fact.

           CERTIFICATE OF COUNSEL REGARDING FONT SIZE

        I hereby certify that the foregoing has been prepared with a font size and

point selection (Times New Roman, 14 pt.) which is approved by the Court

pursuant to Local Rules 5.1(C) and 7.1(D).

        Respectfully submitted, this, the 29th day of June, 2020.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of June, 2020, I caused to be served the

foregoing PLAINTIFFS’ MOTION TO EXCLUDE THE EXPERT

TESTIMONY OF SEAN P. TRENDE AND MEMORANDUM OF LAW IN

SUPPORT OF ITS MOTION by filing it through the Court’s ECF system, which

will serve the following counsel:

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This, the 29th day of June, 2020.

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